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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  PROLITEC INC.,

                   Plaintiff/Counterclaim-
                   Defendant,
                                                             C.A. No. 20-984-WCB
              v.

  SCENTAIR TECHNOLOGIES, LLC,

                   Defendant/Counterclaim-
                   Plaintiff.


                  STIPULATION AND [PROPOSED] ORDER TO EXTEND TIME

        WHEREAS, on May 8, 2024, the Court issued a revised scheduling order (D.I. 330),

which inter alia, set a briefing schedule for revised briefing on Prolitec’s Motion for Judgment

on the Pleadings;

        WHEREAS, the deadline for Prolitec’s Reply Brief in support of its Motion for Judgment

on the Pleadings is currently set for May 27, 2024, which is a federal holiday; and

        WHEREAS, in light of the federal holiday, the parties have conferred and agreed, subject

to the Court’s approval, to a brief one-day extension of time for Prolitec’s deadline to file its

Reply Brief;

        THEREFORE, IT IS HEREBY STIPULATED, by the parties, and subject to the Court’s

approval that the deadline for Prolitec’s Reply Brief in support of its Motion for Judgment on the

Pleadings is extended to and including May 28, 2024 (from May 27, 2024).




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Date: May 23, 2024

 MCCARTER & ENGLISH, LLP                K&L GATES LLP

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 Attorneys for Plaintiff



IT IS SO ORDERED this ____ day of __________, 2024.


                                              ____________________________________
                                              The Hon. William C. Bryson
                                              United States District Judge, by designation




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